            Case 1:20-cv-00929-RDB Document 56 Filed 08/20/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 LEADERS OF A BEAUTIFUL
 STRUGGLE, et al.

          Plaintiffs,
                                                        Case No. RDB-20-0929
     v.

 BALTIMORE POLICE DEPARTMENT,
 et al.,

          Defendants.


  CONSENT MOTION TO WITHDRAW WITHOUT PREJUDICE DEFENDANT’S
 MOTION TO DISMISS AND JOINT MOTION TO STAY PROCEEDINGS PENDING
      DEADLINE FOR FILING PETITION FOR WRIT OF CERTIOTARI

1. On April 9, 2020, Plaintiffs filed a Complaint for Declaratory and Injunctive Relief and a
Motion for Temporary Restraining Order and Preliminary Injunction. ECF Nos. 1, 2.

2. On April 15, 2020, Defendants filed a Response in Opposition. ECF No. 30. Plaintiffs
replied. ECF No. 31. On April 24, 2020, this Court issued an Order and Memorandum Opinion
denying Plaintiffs’ motion. ECF Nos. 32, 33.

3.   On April 24, 2020, Plaintiffs filed an interlocutory appeal. ECF No. 34.

4. On August 12, 2020 Defendants filed a Motion to Dismiss Plaintiffs’ Complaint in this
Court, ECF No. 40, which remained open during the pendency of the appeal. ECF No. 42.
Plaintiffs’ current deadline to respond to the Motion to Dismiss is August 30, 2021. ECF No. 55.

5. Ultimately, on June 24, 2021, the Fourth Circuit, sitting en banc, issued an opinion
reversing this Court and remanding the case for proceedings consistent with its opinion.
Judgment was entered on June 24, 2021. ECF No. 55. The mandate was issued on July 16, 2021.
ECF No. 53.

6. In light of the above, with consent of Plaintiffs, Defendants move to withdraw without
prejudice ECF No. 40, Motion to Dismiss Complaint.

7. Defendants continue to evaluate internally whether to file a Petition for Writ of Certiorari to
the Court of Appeals for the Fourth Circuit.
            Case 1:20-cv-00929-RDB Document 56 Filed 08/20/21 Page 2 of 3



8. Supreme Court Rule 13 states: “Unless otherwise provided by law, a petition for a writ of
certiorari to review a judgment in any case, civil or criminal, entered by a state court of last
resort or a United States court of appeals (including the United States Court of Appeals for the
Armed Forces) is timely when it is filed with the Clerk of this Court within 90 days after entry of
the judgment.”

9. The Supreme Court issued a miscellaneous Order on March 19, 2020 that extended that
period to 150 days due to the COVID-19 global pandemic. Order List 589 U.S., available at
https://www.supremecourt.gov/orders/courtorders/031920zr_d1o3.pdf (last accessed Aug. 20,
2021).

10. The Supreme Court issued another Order on July 19, 2021 rescinding its early Order;
however the July 19 Order specifies that the allowable period remains 150 days for judgments
entered prior to July 19, 2021. Order List 594 U.S., available at
https://www.supremecourt.gov/orders/courtorders/071921zr_4g15.pdf (last accessed Aug. 20,
2021).

11. Therefore, Defendants have until Monday November 22, 2021 to file a Petition for Writ of
Certiorari to the Court of Appeals for the Fourth Circuit.

12. In light of the above, the parties jointly request that the Court issue an Order staying the
proceedings—with an exception for proceedings related to the entry of a preliminary injunction
in this matter—until December 6, 2021 (two weeks after the deadline for filing a petition has
passed), at which time the parties would submit to the Court a Joint Status Report. A stay would
conserve the resources of the parties and promote judicial economy.

13. Separately, in light of the Fourth Circuit’s opinion and the issuance of the mandate to this
Court, Plaintiffs intend to move for entry of a preliminary injunction in accordance with the
Fourth Circuit’s opinion by August 25, 2021. Because Defendants seek to preserve all appellate
rights with respect to the entry of a preliminary injunction, they do not intend to join in
Plaintiffs’ motion; however, the parties are engaged in good-faith negotiations concerning the
scope of the injunction that Plaintiffs intend to move the Court to enter.

       WHEREFORE, the parties jointly request that the Court issue an Order:

       1.       Withdrawing without prejudice Defendants’ Motion to Dismiss (ECF No. 40);

       2.     Staying the proceedings (other than proceedings related to the entry of a
       preliminary injunction in accordance with the en banc Fourth Circuit’s opinion) until
       December 6, 2021; and

       3.       Directing the parties to file with the Court a Joint Status Report on that date.




                                                  2
Case 1:20-cv-00929-RDB Document 56 Filed 08/20/21 Page 3 of 3



                                  Respectfully submitted,

                                  JAMES L. SHEA
                                  Baltimore City Solicitor

                                                 /s/
                                  __________________________________________________________________________________________________________________________________________________________________________________




                                  ELISABETH S. WALDEN
                                  Chief, Police Legal Affairs
                                  KARA K. LYNCH (29351)
                                  Baltimore City Department of Law
                                  100 N. Holliday Street, Suite 100
                                  Baltimore, Maryland 21202
                                  T: 410.396.3659
                                  F: 410.659.4077
                                  Counsel for Baltimore Police Department
                                  and Police Commissioner Michael S.
                                  Harrison
                                                /s/
                                  __________________________________________________________________________________________________________________________________________________________________________________




                                  DAVID R. ROCAH (Bar No. 27315)
                                  American Civil Liberties Union
                                    Foundation of Maryland
                                  3600 Clipper Mill Road, Suite 350
                                  Baltimore, MD 21211
                                  T: 410.889.8555
                                  F: 410.366.7838
                                  rocah@aclu-md.org

                                  ASHLEY GORSKI*
                                  BRETT MAX KAUFMAN*
                                  NATHAN FREED WESSLER*
                                  BEN WIZNER*
                                  American Civil Liberties
                                    Union Foundation
                                  125 Broad Street, 18th Floor
                                  New York, NY 10004
                                  T: 212.549.2500
                                  F: 212.549.2654
                                  agorski@aclu.org
                                  bkaufman@aclu.org
                                  nwessler@aclu.org
                                  bwizner@aclu.org
                                  * pro hac vice

                                  Counsel for Plaintiffs


                              3
